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                            UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF UTAH


IN RE:                                         CASE NO: 20-24404
CHRISTOPHER PROCTOR
                                               Chapter 13

                      Debtor                   Hon. JOEL T. MARKER

                            NOTICE OF TRUSTEE'S OBJECTION TO
                           CLAIM NO. 3 OF Utah Transit Authority AND
                           NOTICE OF OPPORTUNITY FOR HEARING

                               Objection Deadline: November 08, 2022
                            Hearing Date: November 16, 2022 at 10:00 AM

       PLEASE TAKE NOTICE that Lon A. Jenkins, the Chapter 13 Trustee (“Trustee”) has filed with the
United States Bankruptcy Court for the District of Utah (“Bankruptcy Court”), CHAPTER 13 TRUSTEE'S
OBJECTION TO CLAIM NO. 3 OF Utah Transit Authority (the “Objection”).

      YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney,
you may wish to consult one.)

       The Trustee moves the Court for an order for reducing the Creditor’s Claim to $0.00 and authorizing
the Trustee to not make any further disbursements on this Claim.

  NO HEARING WILL BE CONDUCTED ON THIS OBJECTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE COURT ON OR BEFORE THE OBJECTION
DEADLINE SET FORTH BELOW.
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If you do not want the Court to grant the relief requested in the Objection then you or your attorney must do
the following:

   (1) on or before November 08, 2022, file with the Bankruptcy Court a written response to the Objection,
explaining your position, at:
                                          U.S. Bankruptcy Court
                                    350 South Main St., Room 301
                                        Salt Lake City, UT 84101

If you mail your response to the Bankruptcy Court for filing, you must mail it early enough so that the Court will
receive it on or before the objection deadline stated above.

    (2) attend a hearing which is set for November 16, 2022 at 10:00 AM, Dial: (636) 651-3182 Ten Min
before hearing, Access Code:3834658#. There will be no further notice of the hearing and failure to
attend the hearing will be deemed a waiver of your response to the Objection.

       If you or your attorney do not take these steps, the Bankruptcy Court may decide that you do not
oppose the relief sought in the Objection and may enter an order granting the relief sought.

       In the absence of a timely filed response, the undersigned counsel may and will ask the Court to enter
an order granting the Objection without a hearing.


Dated: 10/6/2022                                          LAJ /S/
                                                          LON A. JENKINS, CHAPTER 13 TRUSTEE
                                              CERTIFICATE OF MAILING

    The undersigned hereby certifies that true and correct copy of the foregoing Trustee's Notice of
 Hearing was served upon all persons entitled to receive notice in this case via ECF notification or by First
 Class U.S. Mail to the following parties on October 06, 2022:
CHRISTOPHER PROCTOR, PO BOX 520009,SALT LAKE CITY, UT 84152-0009

JUSTIN O. BURTON, ECF Notification
Utah Attorney General, 160 E 300 S, Salt Lake City, UT 84114

UTA Attention Claims Recovery, 669 W 200 S, Salt Lake City, UT 84101


                                                          /s/ Michelle Moses

Trustee's Notice of Hearing on Objection to Claim
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